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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH

  PATRICK MADDOX,                              ORDER GRANTING STIPULATED
                                               MOTION TO DISMISS
          Plaintiff,


  v.                                           Case No. 1:22-cv-00146-TC-CMR

  UTAH STATE UNIVERSITY, BLAKE                 Judge Tena Campbell
  ANDERSON, and JOHN AND JANE                  Magistrate Judge Cecilia M. Romero
  DOES 1-10,
          Defendants.


       Based on the parties’ Stipulated Motion to Dismiss with Prejudice (ECF No. 24), the

Court hereby grants the parties’ Stipulated Motion to Dismiss with Prejudice, with each party to

bear their own costs and fees.

       DATED this 21st day of July, 2023.


                                            SIGNED:


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                                            TENA CAMPBELL
                                            United States District Court Judge
